09-00504-mg     Doc 1042     Filed 12/22/17 Entered 12/22/17 13:42:09          Main Document
                                          Pg 1 of 16


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ____________________________________________
 In re:                                       Chapter 11

 MOTOR LIQUIDATION COMPANY, et al.,                   Case No. 09-50026 (MG)

                      Debtors.                        (Jointly Administered)


 MOTOR LIQUIDATION COMPANY
 AVOIDANCE ACTION TRUST, by and through
 the Wilmington Trust Company, solely in its          Adversary Proceeding
 capacity as Trust Administrator and Trustee,
                                                      Case No. 09-00504 (MG)
                           Plaintiff,
                    vs.

 JP MORGAN CHASE BANK, N.A., et al.

                           Defendants.


                  FOURTH STIPULATION EXTENDING THE
           DEADLINE FOR THE UNDERSIGNED DEFENDANTS TO FILE
             CROSS-CLAIMS BETWEEN AND AMONG THEMSELVES

        WHEREAS, the August 17, 2015 Order Regarding Discovery and Scheduling [Dkt.

 No. 153] (the “Original Scheduling Order”) in the above-captioned adversary proceeding

 (the “Adversary Proceeding”) provided that the deadline for defendants to file cross-claims,

 if any, was November 16, 2015;


        WHEREAS, the Original Scheduling Order also provided that: “With regard to the

 deadline for Defendants to file cross-claims (if any), any Defendant or Defendants may

 stipulate with any other Defendant or Defendants to extend that deadline to the extent

 applicable to them without the need for a court order” (Original Scheduling Order, ¶ 2);
09-00504-mg       Doc 1042        Filed 12/22/17 Entered 12/22/17 13:42:09                 Main Document
                                               Pg 2 of 16


         WHEREAS, on November 3, 2015, the Court entered the Stipulation and Order

 Regarding Extension of the Deadline for the Undersigned Defendants to File Cross-Claims

 Between and Among Themselves [Dkt. No. 188] (the “First Cross-Claim Extension

 Stipulation”) approving an extension of the deadline for the Stipulating Defendants1, as

 between and among themselves, to November 16, 2016 on the terms set forth therein;


         WHEREAS, the First Cross-Claim Extension Stipulation provides that: “The

 Stipulating Defendants, or any subset thereof, may stipulate between and among themselves

 to further extensions of the cross-claim deadline between and among themselves on the

 same terms set out herein without the need for a court order” (First Cross-Claim Extension

 Stipulation, ¶ 4);


         WHEREAS, on November 3, 2016, the Extended Stipulating Defendants (as defined

 in the Second Cross-Claim Extension Stipulation) filed the Second Stipulation Extending

 Deadline for the Undersigned Defendants to File Cross-Claims Between and Among

 Themselves [D.I. 771] (the “Second Cross-Claim Extension Stipulation”) further extending

 the deadline for the Extended Stipulating Defendants, as between and among themselves, to

 July 31, 2017 on the terms set forth therein;


         WHEREAS, the Second Cross-Claim Extension Stipulation similarly provides that:

 “The Extended Stipulating Defendants, or any subset thereof, may stipulate between and

 among themselves to further extensions of the cross-claim deadline between and among

 themselves on the same terms set out herein without the need for a court order” (Second

 Cross-Claim Extension Stipulation, ¶ 3);

 1
   Capitalized terms not defined herein shall have the meanings ascribed to them in the First Cross-Claim
 Extension Stipulation.

                                                      -2-
09-00504-mg       Doc 1042    Filed 12/22/17 Entered 12/22/17 13:42:09        Main Document
                                           Pg 3 of 16


           WHEREAS, on July 21, 2017, the Third Extended Stipulating Defendants (as

 defined in the Third Cross-Claim Extension Stipulation) filed the Third Stipulation

 Extending Deadline for the Undersigned Defendants to File Cross-Claims Between and

 Among Themselves [D.I. 1009] (the “Third Cross-Claim Extension Stipulation”) further

 extending the deadline for the Third Extended Stipulating Defendants, as between and

 among themselves, to December 31, 2017 on the terms set forth therein;


           WHEREAS, the Third Cross-Claim Extension Stipulation similarly provides that:

 “The Third Extended Stipulating Defendants, or any subset thereof, may stipulate between

 and among themselves to further extensions of the cross-claim deadline between and among

 themselves on the same terms set out herein without the need for a court order” (Third

 Cross-Claim Extension Stipulation, ¶ 3);


           WHEREAS, defendant JP Morgan Chase Bank, N.A. (“JPMCB”) and the

 undersigned Stipulating Defendants (collectively, the “Fourth Extended Stipulating

 Defendants”) have conferred regarding a further extension of the deadline for filing cross-

 claims as between and among themselves, and agree to a further extension as set forth

 herein.


           IT IS HEREBY STIPULATED as follows:


                 1.     Extension of the cross-claim deadline: The deadline for the Fourth

 Extended Stipulating Defendants to file cross-claims, as between and among themselves, is

 further extended to and including April 2, 2018.




                                              -3-
09-00504-mg     Doc 1042      Filed 12/22/17 Entered 12/22/17 13:42:09           Main Document
                                           Pg 4 of 16


               2.      Preservation of “relation back” and statute of limitation arguments:

 For purposes of any “relation back” doctrine, including but not limited to the provisions of

 CPLR 203(d) and case law related thereto, statute of limitations, or any other legal,

 equitable or other defense relating to the passage of time that may be applicable, any cross-

 claim that is filed by any Fourth Extended Stipulating Defendant against any other Fourth

 Extended Stipulating Defendant prior to the deadline set forth in paragraph 1 in the

 Adversary Proceeding will be treated as if such cross-claim were filed in the Adversary

 Proceeding on November 16, 2015. If the first responsive pleading in the Adversary

 Proceeding was filed or is due before the further extended deadline for the filing of cross-

 claims, each Fourth Extended Stipulating Defendant waives any claim, defense or argument

 that such cross-claim was not asserted in the first responsive pleading. For the avoidance of

 doubt, each Fourth Extended Stipulating Defendant, including JPMCB, reserves any and all

 rights and arguments it had as of November 16, 2015 to assert that any cross-claim does or

 does not “relate back” to the filing of the complaint in the Adversary Proceeding and is or is

 not barred by the statute of limitation or any other legal, equitable, or other defense relating

 to the passage of time.


               3.      Further extensions of the cross-claim deadline: The Fourth

 Extended Stipulating Defendants, or any subset thereof, may stipulate between and among

 themselves to further extensions of the cross-claim deadline between and among themselves

 on the same terms set out herein without the need for a court order.


               4.      Preservation of the Existing Stipulations and Orders: Except as

 specifically modified herein, the terms of the Original Scheduling Order, First Cross-Claim



                                                -4-
09-00504-mg      Doc 1042     Filed 12/22/17 Entered 12/22/17 13:42:09      Main Document
                                           Pg 5 of 16


 Extension Stipulation, Second Cross-Claim Extension Stipulation and Third Cross-Claim

 Extension Stipulation, as may have been subsequently modified or amended, shall remain

 in full force and effect.


                         [Remainder of the Page Intentionally Left Blank]




                                               -5-
09-00504-mg   Doc 1042      Filed 12/22/17 Entered 12/22/17 13:42:09     Main Document
                                         Pg 6 of 16


 STIPULATED AND AGREED:

 Dated: December 22, 2017

                                        WACHTELL, LIPTON, ROSEN & KATZ


                                        By: _/s/ Marc Wolinsky_________

                                        Harold S. Novikoff
                                        Marc Wolinsky
                                        C. Lee Wilson

                                        51 W. 52nd Street
                                        New York, NY 10019
                                        Tel: (212) 403-1322
                                        Email: HSNovikoff@wlrk.com
                                        Email: MWolinsky@wlrk.com
                                        Email: CLWilson@wlrk.com

                                        KELLEY DRYE & WARREN LLP

                                        John M. Callagy
                                        Nicholas J. Panarella
                                        Martin A. Krolewski
                                        101 Park Avenue
                                        New York, NY 10178
                                        Tel: (212) 808-7800
                                        Email: jcallagy@kelleydrye.com
                                        Email: npanarella@kelleydrye.com
                                        Email: mkrolewski@kelleydrye.com

                                        Attorneys for Defendant JP Morgan Chase Bank, N.A.


                                        HAHN & HESSEN LLP


                                        By: _/s/ Mark T. Power___________

                                        Mark T. Power
                                        Alison M. Ladd
                                        488 Madison Avenue
                                        New York, NY 10022
                                        Tel: (212) 478-7200
                                        Email: mpower@hahnhessen.com
                                        Email: aladd@hahnhessen.com

                                           -6-
09-00504-mg   Doc 1042   Filed 12/22/17 Entered 12/22/17 13:42:09        Main Document
                                      Pg 7 of 16



                                     Attorneys for certain Term Loan Investor Defendants
                                     identified on Appendix A annexed hereto


                                     KASOWITZ BENSON TORRES LLP


                                     By: _/s/ Andrew K. Glenn___

                                     Andrew K. Glenn
                                     Frank S. DiCarlo
                                     Michelle G. Bernstein
                                     Isaac S. Sasson
                                     1633 Broadway
                                     New York, NY 10019
                                     Tel: (212) 506-1700
                                     Email: aglenn@kasowitz.com
                                     Email: fdicarlo@kasowitz.com
                                     Email: mgenet@kasowitz.com
                                     Email: isasson@kasowitz.com


                                     Attorneys for the Ad Hoc Group of Answering
                                     Defendants identified on Appendix B annexed hereto

                                     KLESTADT WINTERS JURELLER
                                     SOUTHARD & STEVENS, LLP


                                     By: _/s/ Brendan M. Scott__________

                                     Sean C. Southard
                                     Brendan M. Scott
                                     200 West 41st Street, 17th Fl.
                                     New York, NY 10036
                                     Tel: (212) 972-3000
                                     Email: ssouthard@klestadt.com
                                     Email: bscott@kelstadt.com

                                     Attorneys for Defendants (i) Virtus Multi Sector Fixed
                                     Income Fund, (ii) Virtus Multisector Short Term Bond
                                     Fund, (iii) Virtus Senior Floating Rate Fund, (iv)
                                     Phoenix Edge Series Fund Phoenix MultiSector Short
                                     Term Bond Series, and (v) Phoenix Edge SRS – Multi-
                                     Sector Fixed Income Series


                                        -7-
09-00504-mg   Doc 1042   Filed 12/22/17 Entered 12/22/17 13:42:09       Main Document
                                      Pg 8 of 16




                                     WINGET, SPADAFORA &
                                     SCHWARTZBERG, LLP

                                     By: _/s/ Joel M. Wertman_______

                                     Dennis C. Dice, Esq.
                                     Joel M. Wertman, Esq.
                                     1528 Walnut Street, Suite 1502
                                     Philadelphia, PA 19102
                                     Tel: (215) 433-1500
                                     Email: Dice.D@wssllp.com
                                     Email: Wertman.J@wssllp.com

                                     Attorneys for DE-SEI Instl Inv TR-Hi Yld BD, DE-
                                     SEI Instl Mgd TR-Hi Yld BD, SEI Inst Mgd TR Core
                                     Fxd Inc, DE-SEI Institutional Investment Trust - High
                                     Yield Bond Fund, DE-SEI Institutional Managed
                                     Trust - High Yield Bond Fund, Delaware-SEI
                                     Institutional Investment Trust High Yield Bond Fund,
                                     Delaware-SEI Institutional Managed Trust-High
                                     Yield Bond Fund, and SEI Institutional Managed
                                     Trusts Core Fixed Income


                                     DAVIS POLK & WARDWELL LLP

                                     By: _/s/ Elliot Moskowitz__________

                                     Elliot Moskowitz
                                     Marc J. Tobak
                                     M. Nick Sage
                                     450 Lexington Avenue
                                     New York, NY 10017
                                     Tel: (212) 450-4000
                                     Email: elliot.moskowitz@davispolk.com
                                     Email: marc.tobak@davispolk.com
                                     Email: m.nick.sage@davispolk.com

                                     Attorneys for Defendants Arrowgrass Master Fund
                                     Ltd., Bank of America, N.A., Merrill Lynch Capital
                                     Services, Inc., Baltic Funding, LLC, Barclays Bank
                                     PLC, Grand Central Asset Trust, WAM Series,
                                     Citibank, N.A., Citigroup Financial Products Inc.,
                                     Loan Funding XI LLC, Deutsche Bank AG, Deutsche
                                     Bank AG Cayman Islands Branch, Goldman Sachs


                                        -8-
09-00504-mg   Doc 1042   Filed 12/22/17 Entered 12/22/17 13:42:09       Main Document
                                      Pg 9 of 16


                                     Lending Partners LLC, Goldman Sachs –ABS Loans
                                     2007 Ltd., Marathon CLO I Ltd., Marathon CLO II
                                     Ltd., Marathon Financing I, B.V., Morgan Stanley
                                     Senior Funding Inc., and The Royal Bank of Scotland
                                     plc


                                     ICE MILLER LLP


                                     By: _/s/s Daniel R. Swetnam_____

                                     Daniel R. Swetnam, Esq.
                                     250 West Street, Suite 700
                                     Columbus, Ohio 43215
                                     Tel: (614) 462-2225
                                     Fax: (614) 224-3568
                                     Email: daniel.swetnam@icemiller.com

                                     Counsel for Ohio Police & Fire Pension Fund


                                     BLANK ROME LLP

                                     By: _/s/ John Lucian____________

                                     Stanley B. Tarr
                                     The Chrysler Building
                                     405 Lexington Avenue
                                     New York, NY 10174-0208
                                     (212) 885-5296
                                     Fax : (212) 885-5001
                                     Email: tarr@blankrome.com

                                     John Lucian
                                     One Logan Square
                                     Philadelphia, PA 19103
                                     (215) 569-5769
                                     Fax : (215) 832-5769
                                     Email: lucian@blankrome.com

                                     Counsel for PNC Bank, National Association




                                        -9-
09-00504-mg   Doc 1042   Filed 12/22/17 Entered 12/22/17 13:42:09      Main Document
                                      Pg 10 of 16


                                     ELENIUS FROST & WALSH

                                     David Hinkle (admitted pro hac vice)
                                     Paul A. Sheldon (admitted pro hac vice)
                                     333 S. Wabash Avenue, 25th Floor
                                     Chicago, Illinois 60604
                                     Tel: 312-822-4677
                                     Tel: 312-822-3307

                                     and

                                     DAVID CHRISTIAN ATTORNEYS LLC

                                     By: _/s/ David Christian_________

                                     David Christian (admitted pro hac vice)
                                     3515 W. 75 St., Suite 208
                                     Prairie Village, KS 66208
                                     Tel: 913-674-8215

                                     Attorneys for Continental Casualty Company



                                     K&L GATES LLP

                                     By: _/s/ Joseph Clark Wylie_____

                                     Robert Honeywell
                                     599 Lexington Avenue
                                     New York, NY 10022
                                     (212) 536-3900
                                     Fax : (212) 536-3901
                                     Email: robert.honeywell@klgates.com

                                     and

                                     Matthew Allen Alvis
                                     Joseph Clark Wylie, II
                                     70 West Madison Street
                                     Suite 3100
                                     Chicago, IL 60602
                                     312-807-4409
                                     Fax : 312-827-8000
                                     Email: matthew.alvis@klgates.com



                                       -10-
09-00504-mg   Doc 1042   Filed 12/22/17 Entered 12/22/17 13:42:09        Main Document
                                      Pg 11 of 16


                                     Attorneys for Ivy Fund Inc. – High Income Fund, Ivy
                                     Funds – High Income Fund, and the Ivy Funds (on
                                     behalf of its Series)

                                     PULLMAN & COMLEY LLC


                                     By: _/s/ Elizabeth Austin_______

                                     Elizabeth Austin
                                     850 Main Street
                                     P.O. Box 7006
                                     Bridgeport, CT 06601
                                     (203) 330-2000
                                     Fax : (203) 576-8888
                                     Email: ea@pullcom.com

                                     Attorneys for State of Connecticut Retirement Funds
                                     and Trust

                                     SCHUBERT JONCKHEER & KOLBE LLP

                                     By: _/s/ Noah M. Schubert_______

                                     Noah M. Schubert
                                     Three Embaracadero Center
                                     Suite 1650
                                     San Francisco, CA 94111
                                     415-788-4220
                                     Fax : 415-788-0161
                                     Email: nschubert@schubertlawfirm.com

                                     Attorneys for Oakland Police and Fire Retirement
                                     System (“Oakland PFRS”)

                                     SHAPIRO, HABER & URMY LLP

                                     By: _/s/ Edward F. Haber_______

                                     Edward F. Haber
                                     Seaport East
                                     Two Seaport Lane, Floor 6
                                     Boston, MA 02210
                                     617-439-3939
                                     Email: ehaber@shulaw.com



                                       -11-
09-00504-mg   Doc 1042   Filed 12/22/17 Entered 12/22/17 13:42:09        Main Document
                                      Pg 12 of 16


                                     Attorneys for Employees Retirement System of the City
                                     of Montgomery


                                     STARK & STARK

                                     Joseph H. Lemkin
                                     993 Lenox Dr, Building 2
                                     Lawrenceville, NJ 08648
                                     (609)791-7022
                                     Email: jlemkin@stark-stark.com

                                     and

                                     WARNER NORCROSS & JUDD LLP

                                     By: _/s/ Emily S. Rucker_______

                                     Emily S. Rucker
                                     Gordon J. Toering
                                     111 Lyon St NW, Suite 900
                                     Grand Rapids, MI 49503
                                     616-752-2764
                                     Fax : 616-222-2764
                                     Email: erucker@wnj.com

                                     Attorneys for Alticor Inc.




                                       -12-
09-00504-mg       Doc 1042        Filed 12/22/17 Entered 12/22/17 13:42:09                 Main Document
                                               Pg 13 of 16


                                                Appendix A

 Arch Reinsurance Ltd.
 Bill & Melinda Gates Foundation Trust
 Board of Fire and Police Pension Commissioners of the City of Los Angeles
 Board of Pensions of the Presbyterian Church (U.S.A.)
 Building Trades United Pension Trust Fund
 Carpenters Pension Fund of Illinois
 City of Milwaukee Employees’ Retirement System
 Coca-Cola Company Retirement & Master Trust
 Columbus Unconstrained Bond Fund (formerly Reams Unconstrained Bond Fund)
 Connecticut General Life Insurance Company In Respect of Its Separate Account 4828CP
 Cummins Inc. and Affiliates Collective Investment Trust
 Dallas Employee Retirement Fund
 Debello Investors LLC
 Eighth District Electrical Pension Fund
 Emerson Electric Co. Retirement Master Trust
 Employees’ Retirement System of Baltimore County
 GoldenTree Loan Opportunities III, Ltd.
 GoldenTree Loan Opportunities IV, Ltd.
 Halliburton Company Employee Benefit Master Trust
 Health Care Foundation of Greater Kansas City
 ILWU/PMA Pension Plan Trust
 Indiana Public Retirement System
 Indiana State Police Pension Trust
 Indiana University
 Inter-Local Pension Fund of the Graphic Communications Conference of the International
 Brotherhood of Teamsters
 Kraft Heinz Foods Company1 & Kraft Foods Master Retirement Trust
 Kynikos Opportunity Fund II, L.P.
 Kynikos Opportunity Fund International Limited
 Kynikos Opportunity Fund, L.P.
 Master Trust for Certain Tax Qualified Bechtel Retirement Plans2
 Master Trust Pursuant to the Retirement Plans of APL Limited & Subsidiaries
 Mather Foundation
 Montana Board of Investments
 Municipal Employees’ Retirement System of Michigan
 New Orleans Carpenters Pension Plan f/k/a Louisiana Carpenters Regional Council Pension
 Plan
 Purdue University
 Prudential Retirement Insurance & Annuity Company, on behalf of Separate Account SA-

 1
   Based upon their records, neither Kraft Heinz Food Company nor Kraft Foods Global, Inc. received any of
 the transfers referenced in the Amended Complaint and thus reserve all of their rights with respect thereto.
 2
   In 2009, the Master Trust held the assets of the Bechtel Trust & Thrift Plan and the Becon Trust & Thrift
 Plan.
09-00504-mg    Doc 1042     Filed 12/22/17 Entered 12/22/17 13:42:09       Main Document
                                         Pg 14 of 16


 18
 Retirement Board of the Park Employees’ and Retirement Board Employees’ Annuity and
 Benefit Fund of Chicago
 Santa Barbara County Employees’ Retirement System
 Scout Core Plus Bond Fund (formerly Frontegra Columbus Core Plus Bond Fund)
 Seattle City Employees’ Retirement System
 Shinnecock CLO II, Ltd.
 Sonoma County Employees’ Retirement Association
 State of Indiana Major Moves Construction Fund
 St. Luke’s Health System Corporation, as successor to St. Luke’s Episcopal Health System
 Foundation
 Taxable Fixed Income Managers: Portfolio 1 [Series] f/k/a Goldman Sachs GMS Core Plus
 Fixed Income Portfolio
 The Children’s Hospital of Philadelphia Foundation
 The Duchossois Group Inc. Pension Trust
 The Rotary Foundation
 University of Kentucky
 Ventura County Employees’ Retirement Association
 Vulcan Ventures, Inc.
 Wexford Catalyst Investors LLC
 Wexford Spectrum Investors LLC
09-00504-mg    Doc 1042     Filed 12/22/17 Entered 12/22/17 13:42:09        Main Document
                                         Pg 15 of 16


                                        Appendix B

 Fire and Police Employees’ Retirement System of the City of Baltimore
 BBT Fund, L.P.
 SRI Fund, L.P.
 BBT Master Fund, L.P. (f/k/a Cap Fund, L.P.)
 BlackRock Corporate High Yield Fund, Inc.
 BlackRock Debt Strategies Fund, Inc.
 BlackRock Floating Rate Income Strategies Fund, Inc.
 BlackRock Funds II - High Yield Bond Portfolio
 BlackRock Global Investment Series: Income Strategies Portfolio
 BlackRock Fixed Income Portable Alpha (Offshore) Fund
 BlackRock Senior Income Series II
 BlackRock Senior Income Series IV
 R3 Capital Partners Master, L.P.
 The Galaxite Master Unit Trust
 BlackRock High Yield Bond Portfolio, a series of BlackRock Funds II
 High Yield Bond Portfolio
 Delaware Diversified Income Fund, a series of Delaware Group Adviser Funds
 Delaware Enhanced Global Dividend and Income Fund
 Delaware Extended Duration Bond Fund, a series of Delaware Group Income Funds
 Delaware Dividend Income Fund, a series of Delaware Group Equity Funds V
 Delaware Core Plus Bond Fund, a series of Delaware Group Government Fund
 Delaware Corporate Bond Fund, a series of Delaware Group Income Funds
 Delaware High-Yield Opportunities Fund, a series of Delaware Group Income Funds
 Delaware Investments Dividend and Income Fund, Inc.
 The High-Yield Bond Portfolio, a series of Delaware Pooled Trust
 Delaware VIP Diversified Income Series, a series of Delaware VIP Trust
 Delaware VIP High Yield Series, a series of Delaware VIP Trust
 The Core Plus Fixed Income Portfolio, a series of Delaware Pooled Trust
 Optimum Fixed Income Fund, a series of Optimum Fund Trust
 Drawbridge Special Opportunities Fund Ltd.
 Drawbridge Special Opportunities Fund LP
 Fortress Credit Investments I Ltd.
 Fortress Credit Investments II Ltd.
 Guggenheim Portfolio X, LLC
 The Lincoln National Life Insurance Company Separate Account 12
 The Lincoln National Life Insurance Company Separate Account 20
 LVIP Delaware Bond Fund, a series of Lincoln Variable Insurance Products Trust
 LVIP Delaware Foundation® Conservative Allocation Fund, a series of Lincoln Variable
 Insurance Products Trust (and the successor to LVIP Delaware Managed Fund as of June 15,
 2009).
 Golden Knight II CLO, Ltd.
 Lord Abbett Investment Trust – Lord Abbett High Yield Fund
 Lord Abbett Investment Trust – Lord Abbett Floating Rate Fund
 Teachers’ Retirement System of Oklahoma
09-00504-mg    Doc 1042     Filed 12/22/17 Entered 12/22/17 13:42:09       Main Document
                                         Pg 16 of 16


 Houston Police Officers’ Pension System
 Mason Capital, L.P.
 Mason Capital, Ltd.
 Neuberger Berman High Income Bond Fund
 Neuberger Berman High Yield Strategies Fund Inc.
 MacKay New York Life Insurance Company (Guaranteed Products)
 New York Life Insurance Company Guaranteed Products
 New York Life Insurance Company (Guaranteed Products)
 New York Life Insurance Company GP - Portable Alpha
 MacKay Shields Core Plus Alpha Fund Ltd.
 New York Life Insurance Company
 North Dakota State Investment Board
 Fairway Loan Funding Company
 PIMCO Income Strategy Fund
 PIMCO Income Strategy Fund II
 Red River HYPi, L.P.
 PIMCO Cayman Trust: PIMCO Cayman Bank Loan Fund
 StocksPLUS, L.P. Fund B
 PIMCO Funds: PIMCO Total Return Fund
 PIMCO Funds: Private Account Portfolio Series High Yield Portfolio
 PIMCO Funds: Global Investors Series plc, Global Investment Grade Credit Fund
 Portola CLO, Ltd.
 Mayport CLO, Ltd.
 Taconic Capital Partners 1.5 L.P.
 Taconic Market Dislocation Fund II L.P.
 Taconic Market Dislocation Master Fund II L.P.
 Taconic Opportunity Fund L.P.
 Virginia Retirement System
